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                               Nos. 25-1169 & 25-1170

                In the United States Court of Appeals
                        for the First Circuit

                      O. DOE, et al., Plaintiffs-Appellees,
                                       v.
                 DONALD J. TRUMP, et al., Defendants-Appellants.


                STATE OF NEW JERSEY, et al., Plaintiffs-Appellees,
                                     v.
                 DONALD J. TRUMP, et al., Defendants-Appellants.

            ON APPEAL FROM THE U.S. DISTRICT COURT FOR THE
                     DISTRICT OF MASSACHUSETTS


          BRIEF OF MEMBERS OF CONGRESS AS AMICI CURIAE
             IN SUPPORT OF APPELLANTS AND REVERSAL


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                RULE 26.1 CORPORATE DISCLOSURE STATEMENT

            Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure,

      Amici Curiae state they are natural persons and therefore have neither

      any parent corporations nor any shares that could be owned by any

      publicly held corporation.




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                IDENTITY AND INTEREST OF THE AMICI CURIAE1

            Amici are 18 members of Congress who serve on the Committee on

      the Judiciary of the U.S. House of Representatives. Chairman Jim

      Jordan leads this coalition and is joined by Reps. Andy Biggs, Chip Roy,

      Brandon Gill, Troy Nehls, Lance Gooden, Victoria Spartz, Mark Harris,

      Scott Fitzgerald, Robert Onder, Harriet M. Hageman, Tom McClintock,

      Wesley Hunt, Glenn Grothman, Ben Cline, Russell Fry, Michael

      Baumgartner, and Brad Knott.

            Amici have a strong interest in the outcome of this case because

      Congress, as a co-equal branch of government, has an interest in the

      courts upholding the Constitution. Specifically, the historical record

      confirms that the Fourteenth Amendment does not confer citizenship on

      the children of aliens unlawfully present in the United States.

            Because of this, “[a]n alien who seeks political rights as a member

      of this Nation can rightfully obtain them only upon terms and conditions

      specified by Congress,” United States v. Ginsberg, 243 U.S. 472, 474



      1 No counsel for any party has authored this brief in whole or in part, and

      no entity or person, aside from amici curiae and its counsel, made any
      monetary contribution intended to fund the preparation or submission of
      this brief. The parties consent to the filing of this brief.

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      (1917), but Congress has never granted citizenship to the children of

      aliens unlawfully present, see also 8 U.S.C. § 1408. Thus, the other

      branches are forbidden from conferring such citizenship on their own, a

      limitation that the Executive Order ensures is followed within the

      executive branch. See also INS v. Pangilinan, 486 U.S. 875, 885 (1988)

      (“Neither by application of the doctrine of estoppel, nor by invocation of

      equitable powers, nor by any other means does a court have the power to

      confer citizenship in violation of these limitations.”).

            The Court should reverse the District Court’s preliminary

      injunction.

                         SUMMARY OF THE ARGUMENT

            The Fourteenth Amendment confers citizenship on any person who

      is both (1) “born or naturalized in the United States” and (2) “subject to

      the jurisdiction thereof.” U.S. Const. amend. XIV. Each requirement

      invokes specialized terms of art. The first clause has been construed to

      exclude those born in U.S. territories, despite being literally “in” the

      United States.2 And “jurisdiction” in the second clause (the “Jurisdiction



      2See Fitisemanu v. United States, 1 F.4th 862, 877 (10th Cir. 2021);
      Tuaua v. United States, 788 F.3d 300 (D.C. Cir. 2015).

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      Clause”) invokes the historic doctrine of “ligeantia,” meaning the person

      must owe direct and exclusive allegiance to the sovereign, which in turn

      must consent to the person’s presence.

            Notably, the Jurisdiction Clause does not say that the person must

      be subject to the laws of the United States, but rather subject to its

      jurisdiction. The distinction matters. Even in modern caselaw and

      statutes, “[j]urisdiction … is a word of many, too many, meanings,”

      Kontrick v. Ryan, 540 U.S. 443, 454 (2004), so it should come as no

      surprise that the meaning of that term in an amendment written nearly

      160 years ago would be nuanced and invoke pre-existing doctrines.

            As the D.C. Circuit has held, “birthright citizenship does not simply

      follow the flag.” Tuaua, 788 F.3d at 305. Rather, “the evident meaning of

      the words ‘subject to the jurisdiction thereof’ is, not merely subject in

      some respect or degree to the jurisdiction of the United States, but

      completely subject to their political jurisdiction, and owing them direct

      and immediate allegiance.” Id. (quoting Elk v. Wilkins, 112 U.S. 94, 102

      (1884)) (cleaned up).

            There is widespread agreement that the Jurisdiction Clause means

      that children born in the United States to ambassadors or invading



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       soldiers would not receive citizenship under the Fourteenth Amendment.

       The best reason is because they do not owe total allegiance to the United

       States, rather than (as Plaintiffs contend) because those groups allegedly

       have immunity from federal law (in fact, they do not have unconditional

       immunity, as explained below). As explained in more detail below, there

       is a wealth of support for the proposition that the Clause applies the same

       to children of those illegally present in the country because they (like

       ambassadors and foreign soldiers) do not owe total allegiance to the

       United States; they remain citizens of their home countries, to whom they

       owe at least divided allegiance and which often imposes birthright

       citizenship of its own on the children born to its nationals in the United

       States. Allegiance is also a reciprocal relationship. The person must be

       present with the consent of the sovereign, a factor on which the Supreme

       Court extensively relied in United States v. Wong Kim Ark, 169 U.S. 649

       (1898). But illegal aliens and their children are present in the United

       States without consent, i.e., only by defying its laws.

            Early English caselaw supports this concept of total allegiance and

       its role in citizenship, and even the Senators who drafted and debated

       the Jurisdiction Clause stated that children of “aliens” or others “owing



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       allegiance to anybody else” would not receive citizenship. That

       understanding extended for decades after the ratification of the

       Fourteenth Amendment. And some modern scholars argue that the “core

       purpose of the citizenship clause [was] to include in the grant of

       birthright citizenship all who are lawfully in the United States,” and

       scholars have also distinguished the caselaw on which Plaintiffs rely.3

            Because the Fourteenth Amendment does not confer citizenship on

       the children of illegally present aliens, and because Congress has not

       done so by statute, the other branches cannot confer such citizenship on

       their own. See Pangilinan, 486 U.S. at 885; Ginsberg, 243 U.S. at 474.

       The Executive Order at issue here properly ensures that rule is followed

       within the executive branch, and thus the Court should reverse the

       District Court’s preliminary injunction, which also suffers from

       numerous jurisdictional and scope-of-relief issues, as Appellants explain

       in their merits brief.




       3 Samuel Estreicher & David Moosmann, Birthright Citizenship for
       Children of Unlawful U.S. Immigrants Remains an Open Question, Just
       Sec. (Nov. 20, 2018), https://www.justsecurity.org/61550/birthright-
       citizenship-children-unlawful-u-s-immigrants-remains-open-question/.

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                                        ARGUMENT

       I.   English Law.

            In Calvin’s Case—which the Supreme Court later cited in Wong

       Kim Ark, discussed below—Lord Coke explained what made someone

       subject to the jurisdiction of English courts. Calvin’s Case (1608) 77 Eng.

       Rep. 377, 385. He noted that “it is nec cælum, nec solum, neither the

       climate nor the soil, but ligeantia [allegiance] and obedientia [obedience]

       that make” one “subject” to the laws of the country. Id. Jurisdiction in

       that sense does not turn simply on whether the person was present

       within the territory or subject to its laws, but whether he owed allegiance

       to the sovereign. As the D.C. Circuit has explained, Calvin’s Case means

       “[t]hose born ‘within the King’s domain’ and ‘within the obedience or

       ligeance of the King’ were subjects of the King, or ‘citizens’ in modern

       parlance.” Tuaua, 788 F.3d at 304 (quoting 77 Eng. Rep. at 399).

            Lord Coke cited several prior cases to make the point. Most notable

       was Perkin Warbeck’s Case, where a Dutchman declared himself the

       rightful heir to the English throne, then traveled to England in an

       attempt to take the throne. He was captured, but the English court

       concluded he “could not be punished by the common law” because he was



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       not subject to the civil courts’ jurisdiction. Calvin’s Case, 77 Eng. Rep. at

       384. There was no state of war between the countries, but his mere

       presence was unlawful, and thus he had never been under the “protection

       of the King, nor ever owed any manner of ligeance unto him.” Id.

             As Professor Estreicher explains, “Warbeck’s very setting foot on

       English soil as a pretender to the throne made him a criminal in the eyes

       of English law, one who had never claimed the protection of the king by

       virtue of his lawful presence in the realm. Thus, it was the illegality of

       Warbeck’s presence that placed him outside of the ordinary jurisdiction

       of English law.” Estreicher, supra note 3.

       II.   The Understanding of Citizenship During the Drafting of
             the Fourteenth Amendment.

             The concept that “jurisdiction” included two concepts—i.e., being

       subject to a nation’s laws but also holding allegiance to the sovereign—

       continued into international relations and American practice in the

       leadup to the Fourteenth Amendment.

             “The status of dual allegiance, ordinary as it seems today, seemed

       anomalous and inappropriate” in the 1860s, as “the general view was that

       ‘no one can have two countries.’” Robert E. Mensel, Jurisdiction in

       Nineteenth Century International Law and Its Meaning in the Citizenship


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       Clause of the Fourteenth Amendment, 32 St. Louis U. Pub. L. Rev. 329,

       334 (2013). Thus, at the time of the Fourteenth Amendment’s drafting

       and ratification, the term “‘immigration status’ … would have been

       meaningless” because the United States had only minimal immigration

       laws in the modern sense, and instead the crucial inquiry was “the

       parents’ allegiance to a foreign country.” Id.

            That is because the general, albeit not completely uniform, rule at

       the time was that citizenship of a child followed the parents’ citizenship,

       and their original sovereign would often “claim[] the allegiance of the

       child” regardless of where he was born, as “British law at the time plainly

       did.” Id. at 358. United States law was the same: in 1855, Congress

       enacted a law dictating that “persons heretofore born, or hereafter to be

       born, out of the limits and jurisdiction of the United States, whose fathers

       were or shall be at the time of their birth citizens of the United States,

       shall be deemed and considered and are hereby declared to be citizens of

       the United States,” except for “persons whose fathers never resided in the

       United States.” Ch. 71, 10 Stat. 604 (1855); see Weedin v. Chin Bow, 274

       U.S. 657, 659 (1927). Accordingly, “in 1866 … a foreigner could be




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       domiciled in the United States but remain subject to a foreign power.”

       Mensel, supra, at 356.

            With this background, the terminology used by the drafters of the

       Jurisdiction Clause makes more sense to modern readers.

            The history of the Jurisdiction Clause begins with the Civil Rights

       Act of 1866, which stated: “[A]ll persons born in the United States and

       not subject to any foreign power, excluding Indians not taxed, are hereby

       declared to be citizens of the United States.” Ch. 31, 14 Stat. 27, 27 (1866)

       (emphasis added). Senator John Bingham, a principal author of the

       future Fourteenth Amendment, said this provision meant that “every

       human being born within the jurisdiction of the United States of parents

       not owing allegiance to any foreign sovereignty” would be a citizen. Cong.

       Globe, 39th Cong., 1st Sess. 1291 (1866) (emphasis added). This invoked

       the concept of total allegiance to the United States—a concept defeated

       if the parents (and thus their child) owed any allegiance to their home

       country.

            There were, however, serious doubts whether Congress had

       constitutional authority to enact the 1866 Act—President Johnson vetoed

       it in part on that basis, but the veto was overridden—and so “it was clear



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       to many in the Republican majority that a constitutional amendment

       would be needed to give the Civil Rights Act a solid foundation on which

       to survive future legal challenges.” Amy Swearer, Subject to the

       [Complete] Jurisdiction Thereof: Salvaging the Original Meaning of the

       Citizenship Clause, 24 Tex. Rev. L. & Pol. 135, 147–48 (2019).

       Accordingly, it “cannot be seriously doubted” that what would become the

       Jurisdiction Clause was intended to have the exact same meaning as the

       Act, which referenced foreign allegiance. Id. at 147.

            The earliest draft of the Fourteenth Amendment originally included

       no citizenship clause, but in May 1866, Senator Benjamin Wade sought

       to replace the word “citizen” in the privileges-or-immunities clause with

       the phrase “persons born in the United States or naturalized by the laws

       thereof.” Cong. Globe, 39th Cong., 1st Sess. 2768 (1866). This prompted

       a discussion of whether that was actually the proper definition of

       “citizen.” See Mensel, supra, at 362–63.

            Senator Jacob Howard, a sponsor of the Fourteenth Amendment,

       soon proposed a new clause that invoked the historic term of art

       “jurisdiction”: “[A]ll persons born in the United States, and subject to the




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       jurisdiction thereof, are citizens of the United States and of the States

       wherein they reside.” Cong. Globe, 39th Cong., 1st Sess. 2890 (1866).

            Importantly, Howard explained that “[t]his will not, of course,

       include persons born in the United States who are foreigners, aliens, who

       belong to the families of embassadors [sic] or foreign ministers accredited

       to the Government of the United States, but will include every other class

       of persons.” Id. This express reference to “aliens” suggests that even the

       drafter did not believe it would apply only narrowly to children of

       ambassadors, who are listed separately.

            The primary focus of debate during this time was whether the

       Jurisdiction Clause would extend to Indians, who were not expressly

       mentioned in the Clause. Senator Edgar Cowan noted that “[i]t is

       perfectly clear that the mere fact that a man is born in the country has

       not heretofore entitled him to the right to exercise political power.” Id. at

       2890. “[S]ojourners” or “travelers,” for example, have a “right to the

       protection of the laws; but he is not a citizen in the ordinary acceptance

       of the word.” Id. The right to protection of the laws invoked the narrower

       sense of jurisdiction, but to become a citizen, something more was

       required.



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             Senator Lyman Trumbull, who was Chair of the Senate Judiciary

       Committee and seen as the Senate expert on the closely aligned Civil

       Rights Act of 1866, was asked what the Jurisdiction Clause meant in this

       context. He replied: “What do we mean by ‘subject to the jurisdiction of

       the United States?’ Not owing allegiance to anybody else. That is what it

       means.” Id. at 2893. He further stated: “‘subject to the jurisdiction

       thereof’ … means ‘subject to the complete jurisdiction thereof.’” Id. Any

       divided loyalty meant no citizenship, just as it did in the Civil Rights Act

       of 1866.

             Applying that test to Indians was seen as so straightforward that

       the drafters decided against including an express exception for “Indians

       not taxed,” as they had done in the 1866 Act and would also do in Section

       Two of the Fourteenth Amendment. Federal law had long applied to

       Indians, see, e.g., 1 Stat. 137 (1790), but they owed at least partial loyalty

       to their tribes—and thus the Jurisdiction Clause unambiguously meant

       the Fourteenth Amendment would not confer citizenship on their

       children. Congress later granted Indians citizenship via statute,4 but

       until that time, “the Indians were regarded as alien people residing in


       4 See, e.g., Ch. 233, 43 Stat. 253 (1924).




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       the United States” and thus “were not ‘born in the United States and

       subject to the jurisdiction thereof,’ within the meaning of the fourteenth

       amendment of the Constitution.” Nunn v. Hazelrigg, 216 F. 330, 332–33

       (8th Cir. 1914).

            As modern scholars have recognized, “Senator Trumbull and those

       who agreed with him spoke of the jurisdiction arising from allegiance.”

       Mensel, supra, at 369. Thus, everyone recognized the narrow form of

       jurisdiction, meaning entitlement to protection of the laws. But it “is clear

       that the men who drafted and passed the Citizenship Clause …

       recognized a second degree of subjection to a country’s jurisdiction—a

       subjection to its ‘complete’ jurisdiction in ways more closely associated

       with the rights, duties, and deeply rooted natural allegiance inherent to

       long-term residence in, and meaningful interaction with, a particular

       society.” Swearer, supra, at 150. And that more complete form of

       jurisdiction was needed for citizenship. Merely being born in the United

       States and being subject to its laws was insufficient. If the parents or

       child had divided allegiances, the child would not be a U.S. citizen under

       the Jurisdiction Clause.




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            That approach directly tracked the Civil Rights Act of 1866, which

       the Jurisdiction Clause constitutionalized, as noted above. Recall that

       Act excluded those who “ow[e] allegiance to any foreign sovereignty.”

       Cong. Globe, 39th Cong., 1st Sess. 1291 (1866). That same limitation was

       carried into the Jurisdiction Clause, except the latter was stated

       affirmatively vis-à-vis the United States (i.e., must owe allegiance to the

       United States), whereas the Act had been stated negatively vis-à-vis

       foreign sovereigns (i.e., cannot owe allegiance to another sovereign). But

       they meant the same thing.

            As noted, the most common example at the time of someone who

       lacked complete allegiance to the United States would be the children of

       Indians, but the same “rationale that excluded the children of Indians

       would exclude the children of Europeans, born in the United States, if

       the European power involved claimed the allegiance of the child,”

       which—most notably—“British law at the time plainly did.” Mensel,

       supra, at 358. Because no one could owe allegiance to two sovereigns at

       that time (see supra), such children could not claim total allegiance to the

       United States and thus would not be citizens under the Fourteenth




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       Amendment, just as they would not be citizens under the Civil Rights Act

       of 1866.5

            This focus on allegiance continued in the years immediately after

       the Fourteenth Amendment was ratified, as explained next.6

       III. Post-Ratification Understanding of Scholars and the
            Supreme Court.

            In the years immediately after ratification of the Fourteenth

       Amendment, scholars and the Supreme Court viewed the Jurisdiction



       5 Even now, many countries claim children born abroad to citizens. See,

       e.g., Venezuela Constitution Ch. II, § 1, art. 32 (“Are Venezuelans by
       birth: … Any person who was born in a foreign territory, and is the child
       of a father and mother who are both Venezuelans by birth.”); Nationality,
       Gov’t of Colombia, https://www.cancilleria.gov.co/tramites_servicios/
       nacionalidad (Article 96 of the Colombian Political Constitution deems
       “Colombian nationals by birth” those “[c]hildren of a Colombian father or
       mother who were born in a foreign land and then resided in Colombian
       territory or registered in a consular office of the Republic”); Henio Hoyo,
       Eur. Univ. Inst., Report on Citizenship Law: Honduras 5 (Apr. 2016),
       https://cadmus.eui.eu/bitstream/handle/1814/40848/EUDO_CIT_CR_20
       16_06.pdf (Honduran Constitution awards “ius sanguinis for children
       born abroad to those born from Honduran citizens by birth”); Roberto
       Courtney, Eur. Univ. Inst., Report on Citizenship Law: Nicaragua 4–5
       (May 2015), https://core.ac.uk/download/pdf/45685706.pdf (Nicaraguan
       law grants citizenship to “the children of Nicaraguans born overseas
       regardless of any other nationalities they may have.”).
       6 For those who may wish to consider contemporaneous public discussion

       of the Jurisdiction Clause, unfortunately “there was little in the
       newspapers on the technical issue of jurisdiction within the meaning of
       the citizenship clause.” Mensel, supra, at 372.

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       Clause as extending well beyond children of ambassadors and foreign

       soldiers, confirming the view that “jurisdiction” was a term of art

       referring to a specific type of relationship between the individual and the

       sovereign.

            In 1872, just four years after ratification, the Supreme Court noted

       that “[t]he phrase, ‘subject to its jurisdiction’ was intended to exclude

       from its operation children of ministers, consuls, and citizens or subjects

       of foreign States born within the United States.” Slaughter-House Cases,

       83 U.S. 36, 73 (1872) (emphasis added). To be sure, this was likely dicta,

       but it reflected the contemporaneous understanding that the Jurisdiction

       Clause was not a narrow exception solely for “ministers,” “consuls,” and

       invading soldiers, but applied also to children whose parents remained

       citizens of another country. All of these groups had one thing in common:

       they lacked total allegiance to the United States.

            One year later, the U.S. Attorney General (who had been a Senator

       during the debates over the Fourteenth Amendment) issued a formal

       opinion explaining that “[t]he word ‘jurisdiction’ must be understood to

       mean absolute or complete jurisdiction, such as the United States had

       over its citizens before the adoption of this amendment.” 14 Op. Att’ys



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       Gen. 295, 300 (1873). “Aliens, among whom are persons born here and

       naturalized abroad, dwelling or being in this country, are subject to the

       jurisdiction of the United States only to a limited extent. Political and

       military rights and duties do not pertain to them.” Id. Again, note the

       two different forms of “jurisdiction.”

            The next year, the House of Representatives issued a report stating

       that “[t]he United States have not recognized a ‘double allegiance.’ By our

       law a citizen is bound to be ‘true and faithful’ alone to our Government.”

       H.R. Rep. No. 43-784, at 23 (1874). This again equates citizenship with

       the concept of total allegiance, not mere partial allegiance by the

       individual, nor partial authority by the sovereign over that individual.

            The 1881 A Treatise on Citizenship by Alexander Porter Morse

       adopted the Attorney General’s 1873 view, reiterating that “[a]liens,

       among whom are persons born here and naturalized abroad, dwelling or

       being in this country, are subject to the jurisdiction of the United States

       only to a limited extent,” and thus their children would not be citizens.

       Alexander Porter Morse, A Treatise on Citizenship § 198, at 237–38

       (1881).




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            Contemporary scholars further confirmed that “jurisdiction” had

       two meanings, one limited and one more complete. Francis Wharton’s

       1881 edition of A Treatise on the Conflict of Laws recognized that “[i]n

       one sense” a child born in the United States is necessarily subject to its

       jurisdiction in the simple sense that “[a]ll foreigners are bound to a local

       allegiance to the state in which they sojourn.” Francis Wharton, A

       Treatise on the Conflict of Laws § 10, at 34–35 (2d ed. 1881). “Yet the term

       ‘subject to the jurisdiction,’ as above used, must be construed in the sense

       in which the term is used in international law as accepted in the United

       States as well as in Europe.” Id. § 10, at 35. And “by this law the children

       born abroad of American citizens are regarded as citizens of the United

       States, with the right, on reaching full age, to elect one allegiance and

       repudiate the other, such election being final. The same conditions apply

       to children born of foreigners in the United States.” Id.

            George Collins, who was later appointed amicus in Wong Kim Ark,

       explained in 1884 that “[t]he phrase … ‘subject to the jurisdiction thereof’

       does not mean territorial jurisdiction, as has been held in some cases, but

       means national jurisdiction; that is the jurisdiction which a nation

       possesses over those who are its citizens or subjects as such.” George D.



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       Collins, Are Persons Born Within the United States Ipso Facto Citizens

       Thereof?, 18 Am. L. Rev. 831, 837 (1884).7

            In 1884, the Supreme Court decided Elk v. Wilkins, 112 U.S. 94,

       which held that Indians were not citizens under the Fourteenth

       Amendment, as they owed allegiance to their tribes. The Court held that

       the “evident meaning” of the Jurisdiction Clause was that a person was

       “not merely subject in some respect or degree to the jurisdiction of the

       United States, but completely subject to their political jurisdiction, and

       owing them direct and immediate allegiance.” Id. at 102 (emphasis

       added).

            Moving beyond the context of Indians, the Court explained that the

       Fourteenth Amendment would confer citizenship only on those children

       whose parents are “owing no allegiance to any alien power.” Id. at 101.


       7  Numerous other contemporaneous law articles reiterated that
       jurisdiction meant a reciprocal relationship, with the individual owing
       total allegiance to the sovereign, which consented to that person’s
       presence. “‘[B]orn in the United States’ means born, not alone on the soil
       of the United States, but within its allegiance …. To be a citizen of the
       United States is a political privilege, which no one not born in it can
       assume, without its consent in some form.” G.M. Lambertson, Indian
       Citizenship, 20 Am. L. Rev. 183, 185 (1866); see Patrick J. Charles,
       Representation Without Documentation?: Unlawfully Present Aliens,
       Apportionment, the Doctrine of Allegiance, and the Law, 25 BYU J. Pub.
       L. 35, 72 (2011) (collecting authorities).

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       But “an emigrant from any foreign state cannot become a citizen of the

       United States without a formal renunciation of his old allegiance, and an

       acceptance by the United States of that renunciation through such form

       of naturalization as may be required law.” Id. Again, note the concepts of

       total allegiance by the individual and an “acceptance by the United

       States.” Id. “Jurisdiction” in the Jurisdiction Clause invoked that

       reciprocal relationship.

            In lectures posthumously published in 1891, Supreme Court Justice

       Samuel Miller likewise explained the Jurisdiction Clause extended

       beyond mere ambassadors: “If a stranger or traveller passing through, or

       temporarily residing in this country, who has not himself been

       naturalized, and who claims to owe no allegiance to our Government, has

       a child born here which goes out of the country with its father, such child

       is not a citizen of the United States, because it was not subject to its

       jurisdiction.” Samuel F. Miller, Lectures on the Constitution 279 (1891).

            Given this body of evidence, modern scholars have recognized there

       was “significant agreement among contemporary legal scholars” and

       “Executive Branch officials during this same time, including Secretaries

       of State,” that the Jurisdiction Clause invoked the concept of total



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       allegiance to the United States. Swearer, supra, at 169–72 (collecting

       additional examples).

       IV.   Plaintiffs Overread Wong Kim Ark.

             Plaintiffs chiefly rely on the Supreme Court’s decision in United

       States v. Wong Kim Ark, 169 U.S. 649 (1898), but their reliance is

       misplaced because—as explained below—the Court tied allegiance to

       whether the United States had “permitted” or “consent[ed]” to the

       parents being permanently present in the United States at the time of

       the child’s birth, id. at 684, 686, 694. Illegal aliens, by definition, are not

       present with the consent of the United States, and accordingly it makes

       little sense to argue that Wong Kim Ark dictates citizenship for their

       children.

             Wong Kim Ark involved a person who was born in the United States

       to alien parents who, at the time of the child’s birth, “enjoy[ed] a

       permanent domicile and residence” in the United States, with the

       sovereign’s permission. Id. at 652. The Court held that such a child

       “becomes at the time of his birth a citizen of the United States.” Id. at

       705. Invoking the old concept of allegiance, the Court held that foreigners

       present in the United States “are entitled to the protection of and owe



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       allegiance to the United States, so long as they are permitted by the

       United States to reside here.” Id. at 694 (emphasis added).

            Continuing with the theme of sovereign consent as an aspect of

       allegiance, the Court held it was “incontrovertible” that “the jurisdiction

       of every nation within its own territory is exclusive and absolute” and

       may only be qualified by the “consent, express or implied,” of the

       sovereign. Id. at 686. That traced Chief Justice Marshall’s opinion in The

       Schooner Exchange v. McFaddon, 11 U.S. (7 Cranch.) 116 (1812), which

       addressed the rights of Americans whose ship had been seized at sea by

       Napoleon’s agents and then sailed into Philadelphia under a French flag.

       Id. at 117–18. Echoing language later found in the Fourteenth

       Amendment, the Court held that the “jurisdiction of the nation within its

       own territory is necessarily exclusive and absolute,” and thus “[a]ll

       exceptions” to it “must be traced up to the consent of the nation itself.”

       Id. at 136. Birthright citizenship could not be gained from the sovereign

       by those present in defiance of its laws.

            Wong Kim Ark concluded that foreigners owe the requisite

       allegiance when the United States permits them to be here permanently.

       One need not decide whether Wong Kim Ark was fully correct on that



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       score because the test it imposes still resolves the question here: by

       definition, illegal aliens do not have “consent” to be here, are not

       “permitted” to “reside here,” nor have they been given “permanent

       domicile and residence in the United States.” Wong Kim Ark, 169 U.S. at

       653, 686, 694.

            The Executive Order at issue here notably excludes “children of

       lawful permanent residents,” Protecting the Meaning and Value of

       American Citizenship, Exec. Order § 2(c) (Jan. 20, 2025), which is the

       modern equivalent to the parents in Wong Kim Ark. The Court’s opinion

       extended no further.

            Plaintiffs rely on a few broad statements in Wong Kim Ark, but

       ironically the opinion itself cautioned against relying on such statements.

       “It is a maxim, not to be disregarded, that general expressions, in every

       opinion, are to be taken in connection with the case in which those

       expressions are used. If they go beyond the case, they may be respected,

       but ought not to control the judgment in a subsequent suit when the very

       point is presented for decision.” Wong Kim Ark, 169 U.S. at 679.

       Accordingly, circuit courts across the country have long read Wong Kim

       Ark narrowly, in light of its specific facts. See Tuaua, 788 F.3d at 305



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       (citing Nolos v. Holder, 611 F.3d 279, 284 (5th Cir. 2010); Valmonte v.

       INS, 136 F.3d 914, 920 (2d Cir. 1998); Rabang v. INS, 35 F.3d 1449, 1454

       (9th Cir. 1994)).

            One final note: Justice John Marshall Harlan—the patron of

       interpreting the Constitution as color-blind and the sole dissenter in

       Plessy v. Ferguson—joined Chief Justice Fuller’s dissent in Wong Kim

       Ark, arguing that Wong “never became and is not a citizen of the United

       States.” Wong Kim Ark, 169 U.S. at 732 (Fuller, C.J., dissenting). Clearly,

       Justice Harlan viewed that position as fully consistent with our Nation’s

       commitment to equal protection.8



       8 Plaintiffs’ reliance on a footnote in Plyler v. Doe, 457 U.S. 202 (1982), is

       also misplaced. First, the footnote “is dicta referring to dicta,” because it
       was unnecessary to the analysis in Plyler itself and also relied on dicta
       from Wong Kim Ark. Swearer, supra, at 198. Second, the Plyler footnote
       mentioned the same limitations that were present in Wong Kim Ark, i.e.,
       the concept that “jurisdiction” is “bounded only, if at all, by principles of
       sovereignty and allegiance.”457 U.S. at 212 n.10 (emphasis added).
       Third, there are several textual differences between the equal protection
       clause (at issue in Plyler) and the citizenship clause (at issue here). The
       former refers to persons “within the jurisdiction” of a state, whereas the
       latter clause refers to persons “subject to the jurisdiction” of the United
       States. If the Framers had intended the two to mean the same thing, they
       would have used the same phrase, especially because they used very
       Specific terminology throughout Section One of the Fourteenth
       Amendment. Scholars have argued that “subject to the jurisdiction”
       referred to the concept of “total allegiance” to the national sovereign as


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       V.   Contemporary Scholars Support the Federal Government’s
            View.

            Modern scholars and jurists have signaled agreement with the

       government’s interpretations of the Jurisdiction Clause, Wong Kim Ark,

       or both. As noted above, Professor Estreicher, a nationally renowned

       scholar, has written that reliance on Wong Kim Ark for applying

       birthright citizenship to children of illegal aliens is “misplaced.”

       Estreicher, supra note 3. “Wong by its facts (and some of its language) is

       limited to children born of parents who at the time of birth were in the

       United States lawfully and indeed were permanent residents.” Id.

            As Professor Estreicher explains, “the circumstances of Wong Kim

       Ark differ from the unlawful immigration context. Wong’s parents were

       clearly permitted to be within the United States at the time of his birth.

       A second respect in which the facts of the case differ is that, unlike for




       discussed above, whereas “within the jurisdiction” referred to the
       separate, “local allegiance to the state in which they sojourn,” i.e., the
       state they are “within.” Wharton, supra, § 10, at 34–35; see Swearer,
       supra, at 199–200. That tracks the historic discussion recounted above,
       where the Framers and contemporary scholars acknowledged that those
       illegally present might receive protection of the laws and thus were
       subject to a lesser form of jurisdiction, but their children would not
       receive the permanent status and benefits of citizenship because they
       lacked total allegiance.

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       children of unlawful immigrants, there was no U.S. prohibition of Wong’s

       presence at time of his birth. His birth and presence within the United

       States was entirely lawful.” Id. And that distinction matters given that

       Wong Kim Ark itself repeatedly referred to the importance of the

       sovereign’s consent.

             Professor Estreicher and Rudra Reddy have since written an even-

       more-expansive delineation of why the challengers are wrong. See

       Samuel Estreicher & Rudra Reddy, Revisiting the Scope of Constitutional

       Birthright                Citizenship                29                (2025),

       https://papers.ssrn.com/sol3/papers.cfm?abstract_id=5223361              (“The

       congressional record reflects a group of principled and motivated

       legislators trying to atone for the depredations of slavery by

       constitutionalizing the rights of citizenship for freed slaves. There is little

       to suggest by way of text, history, or precedent that this grace extends to

       children of persons who have entered and reside in the US in disregard

       of its laws.”).

             Modern jurisprudence has likewise rejected the notion that the

       Jurisdiction Clause looks only to whether the child would be subject to

       the laws of the United States. The D.C. Circuit held just a few years ago



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       that “the concept of allegiance is manifested by the Citizenship Clause’s

       mandate that birthright citizens not merely be born within the territorial

       boundaries of the United States but also ‘subject to the jurisdiction

       thereof.’” Tuaua, 788 F.3d at 305. And “the evident meaning of the words

       ‘subject to the jurisdiction thereof’ is, not merely subject in some respect

       or degree to the jurisdiction of the United States, but completely subject

       to their political jurisdiction, and owing them direct and immediate

       allegiance.” Id. (quoting Elk, 112 U.S. at 102) (cleaned up) (emphasis in

       original).

             Again, this makes clear that the question is not simply whether

       “ultimate governance remains” with “the United States Government,”

       e.g., whether the United States has jurisdiction to prosecute the person,

       id. at 306, but rather whether there is a reciprocal relationship where the

       person owes total allegiance to the sovereign, which allows the person to

       be present.

             Judge Richard Posner, before he retired, also wrote about the

       Jurisdiction Clause, arguing in a concurrence that the interpretation

       espoused by Plaintiffs here “makes no sense,” and he “doubt[ed]” it was

       correct even under existing caselaw because many aliens present in the



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       United States owe no allegiance to it. Oforji v. Ashcroft, 354 F.3d 609,

       621 (7th Cir. 2003) (Posner, J., concurring). He noted that hundreds of

       thousands of foreign nationals have come to the United States solely to

       give birth, without the slightest hint of owing allegiance to the United

       States. “[T]here is a huge and growing industry in Asia that arranges

       tourist visas for pregnant women so they can fly to the United States and

       give birth to an American. Obviously, this was not the intent of the 14th

       Amendment; it makes a mockery of citizenship.” Id.9

       VI.   “Subject to the Jurisdiction Thereof” Cannot Mean “Subject
             to the Laws Thereof.”

             As recounted above, the historical record and both contemporary

       and modern scholarship demonstrate that the Jurisdiction Clause looks

       beyond the simple question of whether the person is subject to the laws




       9 Further, in Hamdi v. Rumsfeld, 542 U.S. 507 (2004), which addressed

       the detention of a man who claimed to be a U.S. citizen, Justices Scalia
       and Stevens wrote separately in part to note that they were merely
       “presum[ing]” the plaintiff to be an “American citizen” for purposes of the
       lawsuit, even though he had been born in Louisiana, id. at 554 (Scalia,
       J., dissenting). Hamdi’s parents were not U.S. citizens nor lawful
       permanent residents but rather were present in the United States only
       on temporary work visas when Hamdi was born. James C. Ho, Defining
       ‘American,’ 9 Green Bag 2d 367, 376 & n.42 (2006).

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       of the United States. There are additional reasons to reject Plaintiffs’

       simplistic view.

            First, it would have been easy enough to say “subject to the laws” of

       the United States, but instead the drafters used a different term:

       “jurisdiction.” That was intentional. And it invoked a term of art with a

       nuanced history and understanding, as explained above. But Plaintiffs

       never provide an answer for why the drafters did not use far simpler

       language if they meant only to invoke the simple concept of being subject

       to U.S. law.

            Second, the laws surrounding immunity further demonstrate why

       Plaintiffs’ interpretation is incorrect. Plaintiffs acknowledge that

       children of ambassadors and invading soldiers are not entitled to

       birthright citizenship under the Fourteenth Amendment. But Plaintiffs

       are wrong to contend that this is because those groups are supposedly

       immune from U.S. law. Federal law does apply at least in part to invading

       soldiers and even more obviously to their newborn children, who would

       not be enemy combatants. See Ex Parte Quirin, 317 U.S. 1, 20 (1942)

       (upholding convictions of German soldiers captured in the United

       States). And U.S. law also applies to most diplomatic officials, as only a



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       narrow set has anything approaching full immunity, which itself can

       always be waived case-by-case by the home country. See Diplomatic and

       Consular      Immunity,      U.S.      Dep’t     of    State,     July      2019,

       https://www.state.gov/wp-content/uploads/2019/07/2018-

       DipConImm_v5_Web.pdf. Further, there is no diplomatic official who is

       fully immune from all forms of civil liability, i.e., being haled into the

       jurisdiction of a court. See id., App. C (for example, all types of diplomatic

       officials can be issued traffic citations).

             This means none of Plaintiffs’ examples holds up. Every type of

       person they list as falling within the Jurisdiction Clause is already

       subject to at least some of the laws of the United States, and they could

       be subjected to even more laws on a case-by-case basis. At best, they have

       qualified, partial, or contingent immunity. Plaintiffs have no way to

       explain how individuals who are clearly subject to at least some of the

       laws of the United States are nonetheless not subject to the laws of the

       United States. The answer is that Plaintiffs’ test is just the wrong one.

             Third, Plaintiffs’ interpretation proves too much. If qualified,

       partial, or contingent immunity were sufficient to render diplomatic

       officials’ children not subject to the jurisdiction of the United States, then



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       the children of domestic officials who receive such immunity—e.g., judges

       and prosecutors—would likewise not be subject to the jurisdiction of the

       United States and thus not citizens under the Fourteenth Amendment.

       That is wrong, of course. And the reason is because domestic judges and

       prosecutors—unlike ambassadors and invading soldiers—have total

       allegiance to the United States and are present with its consent. They

       are therefore subject to its jurisdiction, and their children born or

       naturalized in the United States are citizens.

                                          ***

            For all these reasons, the touchstone for birthright citizenship

       under the Fourteenth Amendment is allegiance to the United States,

       rather than merely being subject to its laws or some subset thereof.10

                                   CONCLUSION

            The Court should reverse the District Court’s grant of a preliminary

       injunction.




       10 Plaintiffs’ reliance on statutory citizenship fails because it uses the

       exact same language as the Jurisdiction Clause. 8 U.S.C. § 1401(a)
       (requiring the person be “subject to the jurisdiction thereof”).

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